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Debtor 1 MATTHEW L.. PATROVSKY
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: DISTRICT OF NEVADA

Case number 24-50632

(if known)

Official Form 107

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1] Check if this is an
amended filing

Statement of Financial Affairs for Individuals Filing for Bankruptcy

04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

Eau Give Details About Your Marital Status and Where You Lived Before

1. Whatis your current marital status?

oO Married
Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

fy] No

CO Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
(Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,

Washington, and Wisconsin.)

fj No

LD Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your Income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, inciuding part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

OO No

MW Yes. Fill in the details.

From January 1 of the current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31, 2023 )
YYYY

For the calendar year before that:

(January 1 to December 31, 2022 )
YYYY

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_ Debtor 1
Sources of income
Check all that apply.

Oo Wages, commissions,
bonuses, tips

7] Operating a business

i Wages, commissions,
bonuses, tips

(J Operating a business

([] Wages, commissions,
bonuses, tips

[7 Operating a business

Gross income
(before deductions
and exclusions

$43,000.00 (est.)

$155,000.00 (est.)

$230,000.00 (est.)

_ Debtor 2

Sources of income
Check all that apply.

Ol Wages, commissions,
bonuses, tips

(1 Operating a business

Oo Wages, commissions,
bonuses, tips

[1] Operating a business

oO Wages, commissions,
bonuses, tips

[CJ Operating a business

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Gross income
(before deductions
and exclusions

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5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;

unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;

and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

[J No

vw Yes. Fill in the details.

Debtor 2

“Debtort
Sources of income Gross income Sources of income Gross income
Describe below. from each source Describe below. from each source
(before deductions (before deductions
and exclusions and exclusions
From January 1 of the current year until CHILD SUPPORT $1,900.00
the date you filed for bankruptcy:
For last calendar year: CHILD SUPPORT $2,800.00
(January 1 to December 31, 2023 )
YYYY
CHILD SUPPORT $3,100.00

For the calendar year before that:

(January 1 to December 31, 2022 )
YYYY

ir List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
y
“incurred by an individual primarily for a personal, family, or household purpose."

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

[] No. Go to line 7.

Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.
fy] Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Oo No. Go to line 7.

fy Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and alimony.
Also, do not include payments to an attorney for this bankruptcy case.

Dates of Total amount Amount you Was this payment for...
payment paid still owe

EXPANSION CAPITAL GROUP $5,805.00 $12,300.00 (1 Mortgage

Creditor's name oO Car

5801 S. CORPORATE PLACE 4-24 TO 8-24 [1] Credit card

Number Street
Loan repayment

CJ Suppliers or vendors
SIOUX FALLS SD 57108 CI Other

City State ZIP Code

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7.

Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?

Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner,
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 41 U.S.C. § 101. Include payments for domestic support obligations
such as child support and alimony.

No
C1 Yes. List all payments to an insider,

Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
benefited an insider?

Include payments on debts guaranteed or cosigned by an insider.

Y No

1 Yes. List all payments that benefited an insider.

Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.
C No
[7] Yes. Fill in the details.
Case title Nature of the case Court or agency Status of the case
PORTER AND HALVORSON V. CIVIL SPARKS SMALL CLAIMS COURT Fa Pending
PATROVSKY AND 9ROUND Court Name
On appeal
Number Street O
Case number 24-SSC-0704 CO Concluded
SPARKS NV
City State ZIP Code
10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
seized, or levied?
Check all that apply and fill in the details below.
MW] No. Go to line 11.
CI] Yes. Fillin the information below.
11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
amounts from your accounts or refuse to make a payment because you owed a debt?
No
OO Yes. Fill in the details.
12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of

creditors, a court-appointed receiver, a custodian, or another official?

fy] No
oO Yes

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List Certain Gifts and Contributions

43. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

No

CO Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
to any charity?

Y No

OO Yes. Fill in the details for each gift or contribution.

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
other disaster, or gambling?

No
OD Yes. Fill in the details.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

No
CI Yes. Fill in the details.

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone who promised to help you deal with your creditors or to make payments to your creditors?

Do not include any payment or transfer that you listed on line 16.

fy No

CI Yes. Fillin the details.

48. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
property transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.

] No
7 Yes. Fillin the details.
Description and value of Describe any property or payments Date transfer
CTI 1379, LLC property transferred received or debts paid in exchange was made
Person Who Received Transfer 1737 NOREEN DRIVE $11 0,000 4-23
111 W. 3rd STREET #1901 SPARKS, NV 89434
Number Street $451,000 (THE DEBTOR OWED THE DEBTOR HAS AN OPTION TO
$160k ON THE HOME AT THE REPURCHASE THE HOME. IF
TIME) NOT, HE IS OWED MONEY.
NEW YORK NY 10120
City State ZIP Code

Person's relationship to you NONE

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19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
you are abeneficiary? (These are often called asset-protection devices.)

yj No

LO Yes. Fill in the details.

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
benefit, closed, sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

No
CI Yes. Fill in the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
for securities, cash, or other valuables?

No
OO Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

W No

oO Yes. Fill in the details.

identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.

fy No

oO Yes. Fill in the details.

Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

H Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

™ Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

™ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
law?

I No

C] Yes. Fill in the details.

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25. Have you notified any governmental unit of any release of hazardous material?

fy No

LJ Yes. Fillin the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
orders.

fv] No

CI Yes. Fillin the details.

Flame Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
business?

CO Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
A member of a limited liability company (LLC) or limited liability partnership (LLP)

CO A partner in a partnership

CJ An officer, director, or managing executive of a corporation

[I An owner of at least 5% of the voting or equity securities of a corporation

LO No. None of the above applies. Go to Part 12.
Mw Yes. Check all that apply above and fill in the details below for each business.

Describe the nature of the business Employer Identification number
INVINCIBLE MODUS, LLC. MARTIAL ARTS TRAINING Do not include Social Security number or ITIN.
Business Name
EIN: 8 2-3 1 5 7 8 7 5
113 TOS ALTO PARKWAY SUITE 103 Name of accountant or bookkeeper
BENCH ACCOUNTING (ONLINE) Dates business existed
From 2017 To 6-24
SPARKS NV 89436
City State ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
all financial institutions, creditors, or other parties.

No

CO Yes. Fill in the details below.

Sign Below

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury

that the answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

X
BM L. PATROVSKY, Debtor 1 Signature of Debtor 2

Date 07/09/2024 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

wv No
oO Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

No
CO Yes. Name of person Attach the Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119).

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